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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION
UNITED STATES,                       *

Vs.                                  *

TYRONE DOUGLAS SALAZAR,              *

       Defendant.                    * Case CR294-40


                              MOTION IN LIMINE
       Comes now defendant and moves this court for an order in
lirnine excluding and suppressing any and all evidence obtained
illegally of improperly by the prosecution against defendant, or
which would by improper to introduce before a jury, based on the
following showing:
1. Defendant seeks exclusion of any and all references to defendant
refusing the Government's chemical test(s). Based upon the
inappropriate actions of the police, such exclusion is necessary
under Georgia case and statutory authority.
2. Defendant seeks exclusion of any and all alleged statements
(whether or not incriminatory) made by defendant to the police, due
to the following grounds.
       a. Defendant was not given timely Miranda warnings;
       b. Defendant was not properly advised about the availability
          of legal counsel under Georgia.
       c. Defendant was given false or misleading information by the
          arresting officer.
3. Defendant seeks exclusion of evidence of alleged poor results
or any other references to any and all field sobriety tests which
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                  (                                (




the police improperly required the defendant to perform.


4. Defendant seeks exclusion of any and all evidence of
administration of any preliminary breath test (Alco-Sensor) to
defendant , based upon the fact that such tests were improperly
required to be attempted by the defendant, under the circumstances
of this, and based upon Georgia law.
5. Defendant further shows that the arresting officer did not
properly advise him of his statutory rights under Georgia's implied
consent law, in that said statements were false and misleading. For
this reason, any references or statements about defendant refusing
the Government's chemical test(s) must be excluded from evidence.
6. Defendant further shows that the officer did not properly advise
him of his right to have an independent test, as required by
Georgia law.
7. Defendant was denied his rights under the Constitution of the
State of Georgia Article 1 Section I Paragraph XVI " No person
shall be compelled to give testimony tending in any manner to be
self-incriminating." Defendant was told to do certain acts called
"field sobriety tests" by the arresting officers. Defendant was not
advised of his right to refuse these tests nor was he advised he
could have a lawyer. Defendant was not free to leave at any time.
Defendant did not waive any of his rights when he performed the
tests.
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     Wherefore, defendant moves the court to exclude the evidence
referred to on each numbered paragraph from any trial of this case.




                                 Re spe tfi4ly submitted,



                                    áhej,-B. Perry
                                    to
                                       Bar #572750


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St. Marys, GA 31558
(912) 882-3944
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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION


UNITED STATES OF AMERICA
V.                                             Case No. CR294-40
TYRONE D. SALAZAR
Defendant
                                   Brief


      Comes now defendant pursuant to Rule 6.1 and files his brief
in support of the foregoing Motion in Limine.


                                   Facts

      Defendant was stopped for speeding. The arresting officer,
LLoyd E. Smith, had defendant blow his breathe into a devise
commonly known as an Alco-sensor. Defendant was informed the
results measured ".18". This procedure was performed at the site
of the stop.
      Defendant was placed under arrest for "D.U.I." and read
certain information from a card carried by officer Smith. Among
other things, information warned defendant that he must take a test
and if he refused to take the test his drivers license would be
suspended for one year. The warning also contained conflicting
information - that he would lose his privilege to drive for one
year for refusal to submit to a state-administered chemical test.
      Defendant was taken to a facility where the Intoximeter 3000
was to be used to test defendant's breath. Defendant blew his
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breath into the receptacle on two separate occasions. The operator
then declared he refused to take the test. The process was brought
to a halt; defendant was charged with driving under the influence
and refusal to submit to a chemical test.


                 Argument and Citation of Authority
     Defendant is charged with violations of Georgia Law. The
Georgia Law would apply in Federal Court. The Georgia Law
concerning driving under the influence of alcohol reguires any
testing devise to have the approval of the Georgia Bureau of
Investigation, O.C.G.A. 40-6-392. The Alco-Sensor does not have
such approval and should not be allowed into evidence.
     The government's erroneous"implied consent warning" is
addressed in three cases- all against allowing any evidence of
defendant's refusal at trial. Deckard v. State 210 Ga. App. 421,
436 S.E.2d 536; Skelton v. The State (unpublished opinion of
October 14, 1993-Copy attached), and State v. Leviner               Ga.
App. -, 443 S.E.2d 688.
                               Conclusion
     For the above stated reasons the results of the Alco-Sensor
and the alleged refusal to take the Government's chemical test
should not be allowed at trial and defendants Motion in Limine
should be granted.


                                               ttor3e for Defeida
                                              State BarNo.-5T2750
P.O. Box 875
St. Marys, GA 31558
(912) 882-3944
                             'nIrtLJ LJIY*1LLI
                             BEASLEY,
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                                Document
                      CLIJPER and SMITH, JJ.
               NOTICE: MOTIONS FOR RECONSIDERATION HUT
               BE pECtVD IN OUR CLERK IS OFFICE WITHIN              NOT TO BE
               TEN DAYS OF THF DATE OF DECISION to be          OFFICIALLY REPORTED
               deeMed- timely filed. (ccurt of Appeals
               Rules 4 and 48, March 1, 1985.)


                                                               OC11L 1993




In the Court of Appeals of Georgia
A93A0985. SKELTON     V.   THE STATE.                               SM-046C

     SMITH, Judge.

     Keith Skelton was granted interlocutory appeal from the denial
of his motion in limir.e seeking to exclude at. trial the results of
a State-administered breath test. The issue is whether Skelton,
a South Carolina resident and licensee, was unlawfully induced by
a law enforcement officer into submitting to the test by erroneous
warnings of certain adverse legal consequences which might result
from his refusal to dc so. We conclude that he was, and reverse.
     Skelton was     arrested and charged with improper lane usage,
OCGA 5 40-6-48, and DUI, OCGA S 40-6-391, by an cfcer of the
Forest Park Police Department.          The officer read from a card the
following language: OCGA 40-5-55 and 40-6-392 requires (sic) you
to submit to a State-administered chemical test cf your blood,
breath, urine or other bodily substances for the purpose Of
determining alcoholic or drug content. Under Code OCGA 40-6-392
you have the right to an additional test of                 the foregoing

substances made by a person of your own choosing if you so desire.
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This additional test i4rL no way satisfies your obligation to submit
tothe State-administered chemical test. Under GCGA 55 40-5-55 and
40-5-153 ycu will lose your privilege to operate a motor vehicle
from six to twelve months should you refuse to submit to EY
designated state-administered chemical test.           will you submit to

the State-administered chemical test of your breath under the
implied consent law? Skelton also signed a second, written
warning prior to takjnc the test which advised, in pertinent part,
that his driver's licer.s&' would be suspended for a period of six
to twelve months.
      Skelton strongly emohasies and presents evidence to the
eftect tnat at the ti.e     of   h.s arrest, the Georgia Department of
Public Safety had in fact made no effort in several years tc
suspend the In-state driving priviiee of any nonresident motorist
as the result Cf an implied consent refusal, despite the
Department's cbljcatjcn to do so under OC-A       s   40-5-51. In essence,
 Skelton argues that at the time of his arrest, a legally accurate
warning gives in light cf CCGA § 40-5-51 was nevertheless factually
 inaccurate as to nonresident motorists, and therefore unlawfully
 COCVC    in inducing his consent to a State-administered breath
test. Fowever, we need not address this novel question
 regarding any alleged factual misinformation giVen            by police.
 Clearly, the     imclief consent warnings give in this case
 erroneously extended the scope of "legitimate Consequences"
 pcssble under Georcia ia; for a cnresident notcrjst's refusal to
 consent to a State-ad.inistered breath test. Read as a whole,             We


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find the legal misinformation involved here to be indistinguishable
from that determined to constitute unlawful coercion in peckard            V.


State, - Ga. App. - (case            flO.   A93A1488, decided Sept. 29,
1993), and our decision in this case is controlled accordingly.
     Judcnnent reversed. Beasley. P.J., and Cooper. J.          COflCUX.




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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION



UNITED STATES OF AMERICA

V.                                             Case No. CR294-40
TYRONE D. SALAZAR

Defendant

                                 Affidavit

      Comes now defendant before an officer duly authorized to
administer oaths and after being duly sworn states as follows:
                                        1.
      Affiant attended a "Hearing on Suspension of License's on July
20, 1994 in accordance with the attached Order.
                                        2.
      Arresting Officer Lloyd Smith attended and testified. The
testimony was recorded on audio tape by the hearing officer.
                                        3.
      The facts contained in affiant's Brief in support of his
Motion in Limine and his Motion to Suppress were given by Arresting
officer Smith at said hearing.
      Further, affiant saith not.
      This   24
              1.   day of August, 1994


Sworn to and subscribed
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                                             STATE      15 Filed 08/29/94 Page 10 of 11
                                                   OF GEORGIA
                                        DEPARTMENT OF PUBLIC SAFETY
                                 DRIVER IMPROVEMENT SECTION - HEARING UNIT
                                               P. 0. BOX 1456
                                         ATLANTA, GEORGIA 30371-2303

                                  ORDER FOR HEARING ON SUSPENSION OF LICENSE

                                                              July 20, 1994

            TYRONE DOUGLAS SALAZAR
            TRF(CODE 380) NSB
            KINGS BAY, GA. 31547

                              RE: ADMINISTRATIVE LICENSE SUSPENSION (IC)
                                   DL# 980805023      DOB: 10-05-69
The expiration of your Temporary Driving Permit originally scheduled for 07-07-94 has been extended to 08-30-94 This letter
authorizes your extended Temporary Driving privileges and should be kept with you when you drive. This permit is invalid if
you are suspended by the court.
This will acknowledge your request for a hearing. Therefore, CPL. H.H. ROWLAND, of the Department of
Public Safety is designated to conduct the hearing. Your hearing has been scheduled for:

                  DATE: 08-09-94 TIME: 11:30 AM
                  LOCATION: CAMDEN COUNTY SHEIFF'S OFFICE, WOODBINE, GEORGIA.

This notice is pursuant to O.C.G.A. 40-5-55, 40-6-392, and 40-5-67.1. The hearing will cover the following issues: (1) Whether the Law
Enforcement Officer had reasonable grounds to believe that you were operating or in actual physical control of a moving motor vehicle while
under the influence of alcohol or a controlled substance and were lawfully placed under arrest for violating Code Section O.C.G.A. 40-6-391;
or (2) Whether you were involved in a motor vehicle accident or collision resulting in serious injury or fatality; and (3) Whether at the time
of the request for the test or tests the Officer informed you of your Implied Consent Rights and the consequence of submitting or refusing
to submit to such test; and (4) Whether you refused the test.

You have the right to be represented by an attorney and subpoena witnesses or documentary evidence through this department. You may
present evidence or testimony to dispute the issues listed above.

Your failure to appeal the hearing officer's decision within thirty (30) days as provided by the Administrative Procedure Act will result in
the decision becoming the final agency decision. If you need to reschedule the hearing you must receive approval through
this office at least twenty-four (24) hours prior to the hearing. (404)624-7533. If you are a person with
disabilities, and need special assistance to conduct your business with our agency, please call (404) 624-7533
prior to the hearing date.




                                                                     bJ




                                                      CAPT. R. D. HARPER, SUPERVISOR
                                                      DRIVER IMPROVEMENT SECTION
                                                      HEARING UNIT
RDH/EP
cc: MICHAEL B. PERRY, ATTY.
      1712-F OSBORNE ROAD
      ST. MARYS, GA. 31558
      El
                     Case 2:94-cr-00040-JEG Document 15 Filed 08/29/94 Page 11 of 11
El




                                          CERTIFICATE OF SERVICE

                          This is to certify that the foregoing MOTIONS
            have been served on the attorney for THE U.S.
            by depositing the same in the United States Mail with sufficient
           postage thereon to insure delivery to:
                          Lt. Fred Bissinger, Esq.
                          NLS Detachment
                          NSB
                          Building 1052 South
                          Kings Bay, Ga. 31547-7300


                              )C
                          This/Jth day of August, 19"




           P.O. Box 875
           St. Marys, GA 31558
           (912) 882-3944
           *572750




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